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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                    10/16/2020
                                                                       :
RICHARD K. and JULIE K., individually and as :
guardians of K.K., a minor,                                            :
                                                                       :
                                    Plaintiffs,                        :      18-CV-6318 (JPC)
                                                                       :
                  -v-                                                  :        NOTICE OF
                                                                       :      REASSIGNMENT
UNITED BEHAVIORAL HEALTH and OXFORD :
HEALTH INSURANCE OF NEW YORK / PPO,                                    :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. All counsel must familiarize themselves

with the Court’s Individual Rules, which are available at https://www.nysd.uscourts.gov/hon-

john-p-cronan. This action remains stayed in its entirety pursuant to the Honorable Judge Gregory

H. Wood’s Order dated July 15, 2019 (Dkt. 52). The parties are hereby ordered to continue filing a

joint status update every six months until the stay of this matter is lifted, with the next status letter

due April 15, 2021. If the court in Wit v. United Behavioral Health, No. 3:14-CV-02346-JCS (N.D.

Cal.) issues a final order, decertifies the plaintiff class, or excludes K.K. from the certified plaintiff

class, the parties are directed to file a letter notifying the court within fourteen days of the order.

        In accordance with the Court’s Individual Rules and Practices, requests for extensions or

adjournment may be made only by letter-motion filed on ECF and must be received at least 48

hours before the deadline or scheduled appearance, absent compelling circumstances. The written

submission must state (1) the original date(s) set for the appearance or deadline(s) and the new

date(s) requested; (2) the reason(s) for the request; (3) the number of previous requests for
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adjournment or extension; (4) whether these previous requests were granted or denied; and (5)

whether opposing counsel consents, and, if not, the reasons given by opposing counsel for refusing

to consent.



       SO ORDERED.

Dated: October 16, 2020                             __________________________________
       New York, New York                                    JOHN P. CRONAN
                                                           United States District Judge




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